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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )                 CASE NO. 8:14CR255
                                           )
              Plaintiff,                   )
                                           )
              vs.                          )                       ORDER
                                           )
JOSE ERIVES-RIOS,                          )
                                           )
              Defendant.                   )

       Before the Court are the Findings and Recommendation and Order (“Report”) of

Magistrate Judge Thomas D. Thalken (Filing No. 62). The Report recommends that the

Defendant’s Motion to Suppress (Filing No. 45) be denied. No objections to the Report

have been filed. After a review of the Court record in this matter,

       IT IS ORDERED:

       1.     The Magistrate Judge’s Findings and Recommendation and Order (Filing 62)

              is adopted; and

       2.     The Defendant’s Motion to Suppress (Filing No. 45) is denied.

       DATED this 26th day of November, 2014.


                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           Chief United States District Judge
